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                     In the United States District Court for the
                               District of Minnesota


Mayo Clinic, a Minnesota
Corporation, on its own
behalf and as successor in                 Civ. No. 16-cv-03113-JNE-KMM
interest to Mayo Foundation,

        Plaintiff,

   v.

United States of America,

        Defendant.




        Index of Exhibits to United States’ Summary-Judgment Motion
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                                            ECF Exhibits

No.                          Exhibit                                    Admissibility       Declarant
 1     Grab and Go History Presentation                             Obtained from Mayo      Reinken
                                                                    Clinic’s website; see
                                                                    FRE 801(d)
 2     J. Noseworthy, S. Weis, and S. Plutowski, The Mayo           Book obtained by        Weidler
       Clinic in the 21st Century: Reinventing a Healthcare Icon,   counsel from
       BREAKTHOUGH: FROM INNOVATION TO IMPACT, 292                  Amazon.com; see FRE
       (Owls Found. Ed. 2016)                                       901(a), 801(d)
 3     N. Larusso, B. Spurrier, and G. Farrugia, THINK BIG,         Book obtained by        Weidler
       START SMALL, MOVE FAST: A BLUEPRINT FOR                      counsel from
       TRANSFORMATION FROM THE MAYO CLINIC CENTER FOR               Amazon.com; see FRE
       INNOVATION (McGraw Hill Edu. 2015)                           901(a), 801(d)
 4     Mayo Clinic Sesquicentennial Commemorative: 150 Years        Periodical; see FRE       N/A
       of Serving Humanity–Through Hope and Healing (2014)          902(6)
 5     B. Fye, The Origins and Evolution of the Mayo Clinic from    Periodical; see FRE       N/A
       1864 to 1939: A Minnesota Family Practice Becomes and        902(6)
       International “Medical Mecca,” 84 Bull. Hist. Med. 323
       (2010)
 6     Christopher J. Boes, et al., The Founding of the Mayo        Periodical; see FRE       N/A
       School of Graduate Medical Education, Mayo Clinic            902(6)
       Proceedings, Feb. 2015, 252 (Feb. 2015)
 7     Quotations from the Doctors Mayo                             Obtained from Mayo      Reinken
                                                                    Clinic’s website; see
                                                                    FRE 801(d)
 8     Investor Presentation – Series 2012 Bonds (March             Produced by Mayo        Weidler
       2012)                                                        Clinic in discovery;
                                                                    see FRE 901(a)
 9     S. Pruthi, J. Noseworthy, J. Bolton et al., Vision,          Periodical; see FRE       N/A
       mission, and values: From concept to execution at Mayo       902(6)
       Clinic, 2 Patient Experience Journal, Issue 2, Art. 21,
       168 (2015)
10     M. Dacy, Logo Logic: What do those shields mean?             Obtained from Mayo      Reinken
                                                                    Clinic’s website; see
                                                                    FRE 801(d)
11     Excerpt of Transcript of 30(b)(6) Deposition                 FRCP 56(c)(1)           Weidler
       Testimony of Mayo Clinic taken through its
       Representative, Mark A. Warner, M.D., July 18, 2018
12     J. Noseworthy et al., Mayo Clinic: The Unparalleled          Produced by Mayo        Weidler
       Patient Experience (the “2020 Report”)                       Clinic in discovery;
                                                                    see FRE 901(a)
13     Technical Advice Request - Statement of Issue and            FRCP 56(c)(1)            Fager
       Facts (April 16, 2010)
14     IRS Form 1023, Mayo Foundation 2000, May 3, 1999             FRCP 56(c)(1)            Fager
15     Companion Book to Ken Burns' new documentary,                Obtained from Mayo      Reinken
       'The Mayo Clinic: Faith – Hope – Science, ' now              Clinic’s website; see
       available                                                    FRE 801(d)

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No.                          Exhibit                                  Admissibility       Declarant
16     The Mayo Clinic- Faith– Hope– Science (Screenshot)         Obtained from Mayo      Reinken
                                                                  Clinic’s website; see
                                                                  FRE 801(d)
17     R. Hertzlinger, R. Huckman, and J. Lesser, Mayo            Periodical; see FRE       N/A
       Clinic: The 2020 Initiative, Harvard Business School       902(6)
       Case Study 9-615-027 (rev. Mar. 10, 2016)
18     Community Engagement                                       Obtained from Mayo      Reinken
                                                                  Clinic’s website; see
                                                                  FRE 801(d)
19     Mayo Clinic Community Contributions Program in             Obtained from Mayo      Reinken
       Rochester                                                  Clinic’s website; see
                                                                  FRE 801(d)
20     Mayo Clinic Community Grant Program Florida                Obtained from Mayo      Reinken
       Campus 2019 Cycle                                          Clinic’s website; see
                                                                  FRE 801(d)
21     Work With Us – Mayo Clinic Community                       Obtained from Mayo      Reinken
       Contributions Program in Florida                           Clinic’s website; see
                                                                  FRE 801(d)
22     Work With Us – Mayo Clinic Community                       Obtained from Mayo      Reinken
       Contributions Program in Rochester                         Clinic’s website; see
                                                                  FRE 801(d)
23     Mayo Clinic Community Relations Program Priorities,        Obtained from Mayo      Reinken
       Processes, and Instructions                                Clinic’s website; see
                                                                  FRE 801(d)
24     Mayo Clinic Facebook page                                  Obtained from           Reinken
                                                                  Facebook.com; see
                                                                  FRE 801(d)
25     Mayo Clinic LinkedIn page                                  Obtained from           Reinken
                                                                  LinkedIn.com; see
                                                                  FRE 801(d)
26     K. Ostreich, Mayo Clinic expands all three sites to meet   Obtained from Mayo      Reinken
       growing demand for destination care, Sept. 26, 2018        Clinic’s website; see
                                                                  FRE 801(d)
27     J. McVeigh, Mayo Clinic doubling the size of its Phoenix   Obtained from Mayo      Reinken
       campus to meet patient demand, Sept. 5, 2018               Clinic’s website; see
                                                                  FRE 801(d)
28     Mayo Clinic's Responses to United States' Requests         FRCP 56(c)(1)           Weidler
       for Admission
29     Strategic Statements of Mayo Clinic                        Obtained from Mayo      Reinken
                                                                  Clinic’s website; see
                                                                  FRE 801(d)
30     M. Dacy, LET'S VISIT MAYO CLINIC WITH DR. JACK THE         Book obtained by        Weidler
       HELPING DOG                                                counsel from
                                                                  Amazon.com; see FRE
                                                                  901(a), 801(d)
31     Targeted Consumer Engagement Campaign Update               Obtained online; see    Weidler
                                                                  FRE 801(d)


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No.                            Exhibit                             Admissibility      Declarant
32     Summary Exhibit Table 1 – Summary of Selected          Summary of              Reinken
       Information from Form 990 Returns for years 2003,      voluminous
       2005, 2006, and 2007 for Mayo Clinic Rochester (MCR)   documents that Mayo
       and Mayo Clinic (MC)                                   Clinic produced in
                                                              discovery; see FRE
                                                              901(a), 1006
33     Summary Exhibit Table 2 – Summary of Selected          Summary of              Reinken
       Information from Mayo Clinic's Form 990 Returns for    voluminous
       years 2010, 2011, and 2012                             documents that Mayo
                                                              Clinic produced in
                                                              discovery; see FRE
                                                              901(a), 1006
34     Summary Table 6 – Summary of Mayo Clinic 2010          Summary of              Reinken
       Form 990 Schedule J (Compensation Information)         voluminous
                                                              documents that Mayo
                                                              Clinic produced in
                                                              discovery; see FRE
                                                              901(a), 1006
35     Summary Table 3 – Summary of Enrollment in Mayo        Summary of              Reinken
       Clinic's School of Graduate Medical Education,         voluminous
       Graduate School, Medical School, and School of         documents that Mayo
       Health Sciences                                        Clinic produced in
                                                              discovery; see FRE
                                                              901(a), 1006
36     Summary Table 4 – Mayo Clinic Patient Data             Summary of              Reinken
                                                              voluminous
                                                              documents that Mayo
                                                              Clinic produced in
                                                              discovery; see FRE
                                                              901(a), 1006
37     Summary Table 5 – Mayo Clinic Employee Data            Summary of              Reinken
                                                              voluminous
                                                              documents that Mayo
                                                              Clinic produced in
                                                              discovery; see FRE
                                                              901(a), 1006
38     Screen shot showing the description of “The Mayo       Obtained from Mayo      Reinken
       Difference” video                                      Clinic’s website; see
                                                              FRE 801(d)
39     2003 Annual Report – Mayo Clinic                       Produced by Mayo        Weidler
                                                              Clinic in discovery;
                                                              see FRE 901(a)
40     2005 Annual Report – Mayo Clinic                       Produced by Mayo        Weidler
                                                              Clinic in discovery;
                                                              see FRE 901(a)
41     2006 Annual Report – Mayo Clinic                       Produced by Mayo        Weidler
                                                              Clinic in discovery;
                                                              see FRE 901(a)

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No.                          Exhibit                          Admissibility      Declarant
42     2007 Annual Report – Mayo Clinic                  Produced by Mayo         Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
43     2009 Annual Report – Mayo Clinic                  Obtained from Mayo      Reinken
                                                         Clinic’s website; see
                                                         FRE 801(d)
44     2010 Annual Report – Mayo Clinic                  Obtained from Mayo      Reinken
                                                         Clinic’s website; see
                                                         FRE 801(d)
45     2011 Annual Report – Mayo Clinic                  Obtained from Mayo      Reinken
                                                         Clinic’s website; see
                                                         FRE 801(d)
46     2012 Mayo Clinic’s Annual Report                  Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
47     2018 Annual Report- – Mayo Clinic                 Obtained online; see    Reinken
                                                         FRE 801(d)
48     2003 Form 990 – Mayo Foundation                   Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
49     2005 Form 990 – Mayo Clinic                       Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
50     2006 Form 990 – Mayo Clinic                       Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
51     2007 Form 990 – Mayo Clinic                       Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
52     2010 Form 990 – Mayo Clinic (parts 1 through 3)   Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
53     2011 Form 990 – Mayo Clinic (parts 1 through 8)   Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
54     2012 Form 990 – Mayo Clinic (parts 1 through 3)   Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
55     2003 Form 990 – Mayo Clinic Rochester             Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
56     2005 Form 990 – Mayo Clinic Rochester             Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)
57     2006 Form 990 – Mayo Clinic Rochester             Produced by Mayo        Weidler
                                                         Clinic in discovery;
                                                         see FRE 901(a)


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No.                         Exhibit                              Admissibility     Declarant
58     2007 Form 990 – Mayo Clinic Rochester                Produced by Mayo        Weidler
                                                            Clinic in discovery;
                                                            see FRE 901(a)
59     Excerpt of deposition testimony of Mark A. Warner,   FRCP 56(c)             Weidler
       M.D., in his individual capacity




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                          Conventionally filed Exhibits

No.                       Exhibit                           Admissibility         Declarant
C-1    Video: Yale School of Mgmt - Dacy and          Admitted by Mayo in           N/A
       Noseworthy discuss Mission of the Clinic       response to USA request
                                                      for admission nos. 41-46,
                                                      48 (USA Ex. 28); FRCP
                                                      56(c)(1)
C-2    Video: Noseworthy farewell interview           Obtained from Mayo          Reinken
       broadcast on KROC 12/19/2018                   Clinic’s website; FRE
                                                      801(d)
C-3    Video: Noseworthy interview on TPT's Almanac   Obtained from Mayo          Reinken
       12/14/2018                                     Clinic’s website; FRE
                                                      801(d)
C-4    Video: Yale School of Mgmt - Noseworthy on     Admitted by Mayo in           N/A
       Health Care Delivery Improvement               response to USA request
                                                      for admission nos. 34-36
                                                      (USA Ex. 28); FRCP
                                                      56(c)(1)
C-5    Video: Noseworthy's TEDx Talk at St. Mark's    Obtained online; FRE        Reinken
       School                                         801(d)
C-6    Video: Noseworthy and K. Burns on              Admitted by Mayo in           N/A
       Squawkbox                                      response to USA request
                                                      for admission nos. 26, 27
                                                      (USA Ex. 28); FRCP
                                                      56(c)(1)
C-7    Video: Noseworthy interview by Maria           Admitted by Mayo in           N/A
       Bartiromo                                      response to USA request
                                                      for admission no. 28 (USA
                                                      Ex. 28); FRCP 56(c)(1)
C-8    Video: Noseworthy speech at Economic Club of   Admitted by Mayo in           N/A
       Minnesota                                      response to USA request
                                                      for admission nos. 37
                                                      (USA Ex. 28); FRCP
                                                      56(c)(1)
C-9    Video: J. Murphy's Downtown Rochester          Admitted by Mayo in           N/A
       Campus Tour                                    response to USA request
                                                      for admission nos. 13, 14
                                                      (USA Ex. 28); FRCP
                                                      56(c)(1)
C-10   Video: Mayo Effect 2009                        Admitted by Mayo in           N/A
                                                      response to USA request
                                                      for admission nos. 22
                                                      (USA Ex. 28); FRCP
                                                      56(c)(1)
C-11   Video: Mayo Effect 2012                        Admitted by Mayo in           N/A
                                                      response to USA request
                                                      for admission nos. 23

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No.                        Exhibit                             Admissibility           Declarant
                                                         (USA Ex. 28); FRCP
                                                         56(c)(1)
C-12   Video: Mayo Effect 2017                           Admitted by Mayo in             N/A
                                                         response to USA request
                                                         for admission nos. 24, 25
                                                         (USA Ex. 28); FRCP
                                                         56(c)(1)
C-13   Audio: Noseworthy interviewed by T. Crann on      Admitted by Mayo in             N/A
       MPR                                               response to USA request
                                                         for admission nos. 29, 30
                                                         (USA Ex. 28); FRCP
                                                         56(c)(1)
C-14   Video: Noseworthy interview on TPT's Almanac      Admitted by Mayo in             N/A
       2/1/2013                                          response to USA request
                                                         for admission nos. 31, 32
                                                         (USA Ex. 28); FRCP
                                                         56(c)(1)
C-15   Audio: Noseworthy interviewed by Roshini on       Admitted by Mayo in             N/A
       WCCO                                              response to USA request
                                                         for admission nos. 39, 40
                                                         (USA Ex. 28); FRCP
                                                         56(c)(1)
C-16   Video: Jeffrey Bolton speech to LifeScience       Admitted by Mayo in             N/A
       Alley                                             response to USA request
                                                         for admission nos. 38
                                                         (USA Ex. 28); FRCP
                                                         56(c)(1)
C-17   Video: Mayo television commercial - Road Trip     Obtained online; FRE          Reinken
                                                         801(d)
C-18   Video: Mayo television commercial - Train Ride    Obtained online; FRE          Reinken
                                                         801(d)
C-19   Video: The Mayo Difference                        Obtained from Mayo            Reinken
                                                         Clinic’s website; FRE
                                                         801(d)
C-20   Audio: Noseworthy "exit interview" on MPR         Obtained from Mayo            Reinken
       Dec. 2018                                         Clinic’s website; FRE
                                                         801(d)
C-21   DVD: Ken Burns Presents The Mayo Clinic:          DVD obtained by counsel       Weidler
       Faith, Hope, Science                              from Mayo Clinic’s
                                                         website; FRE 901(a), 801(d)
C-22   The Mayo Clinic: Faith, Hope, Science             Book obtained from Mayo       Weidler
       (Companion Book)                                  Clinic’s website; FRE
                                                         901(a), 801(d)




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                             Respectfully submitted,
   May 3, 2019
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